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                       Decor, LLC d/b/a Eagles Lighting LLC, Larry
             16        Krazyman and David Tropper
             17
                                             UNITED STATES DISTRICT COURT
             18                             CENTRAL DISTRICT OF CALIFORNIA
                                                  WESTERN DIVISION
             19
                       MINKA LIGHTING, INC.,                       C.A. No. 5:13-cv-02370-RGK-MRW
             20
                            Plaintiff,                   NOTICE OF MOTION AND JOINT
             21                                          STIPULATION TO ENTER
                       v.                                [PROPOSED] FINAL JUDGMENT
             22                                          AGAINST DEFENDANTS BATH
                       BATH KITCHEN DÉCOR, LLC d/b/a     KITCHEN DECOR, LLC D/B/A
             23        EAGLES LIGHTING LLC, LARRY        EAGLES LIGHTING LLC AND
                       KRAZYMAN, Individually, and DAVID LARRY KRAYZMAN, AND
             24        TROPPER, Individually,            DISMISSAL WITHOUT
                                                         PREJUDICE OF DAVID TROPPER
             25            Defendants.
                                                         Pre-Trial: February 23, 2015
             26                                          Jury Trial Date: March 3, 2015
             27                                                    Judge: Hon. R. Gary Klausner
             28                                                1
Baker & McKenzie LLP
                                                                                           Case No 5:13-cv-02370-RGK-MRW
 Houston, TX 77002                                                         Joint Stipulation to Enter [Proposed] Final Judgment
           Case 5:13-cv-02370-RGK-MRW Document 72 Filed 02/27/15 Page 2 of 3 Page ID #:1778


               1
               2             Pursuant to the parties' confidential settlement agreement, Plaintiff Minka
               3       Lighting, Inc. and Defendants Bath Kitchen Decor, LLC d/b/a Eagles Lighting LLC,
               4       Larry Krayzman request that the Court enter the attached [Proposed] Final Judgment
               5       against Bath Kitchen Décor, LLC d/b/a Eagles Lighting, LLC and Larry Krayzman,
               6       and dismissal without prejudice of David Tropper.
               7
                       Dated:   February 27, 2015               BAKER AND MCKENZIE LLP
               8
               9
                                                                By:/s/Myall S. Hawkins
             10                                                    Myall S. Hawkins
                                                                   Attorneys for Plaintiff
             11                                                    Minka Lighting, Inc.
             12        Dated:   February 27, 2015                   LAW OFFICES OF ALAN J.
                                                                    SASSON, P.C.
             13
                                                                By:/s/ Yitzchak Zelman*
             14                                                    Yitzchak Zelman
             15                                                    Attorneys for Defendants
                                                                   Bath Kitchen Décor, LLC, Larry
             16                                                    Krayzman and David Tropper

             17                                                 *Signed by permission.

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Baker & McKenzie LLP                                            2
       Houston
                                                                                             Case No 5:13-cv-02370-RGK-MRW
                                                                            Joint Stipulation to Enter [Proposed] Final Judgment
           Case 5:13-cv-02370-RGK-MRW Document 72 Filed 02/27/15 Page 3 of 3 Page ID #:1779

               1
               2                                  CERTIFICATE OF SERVICE
               3             I am a citizen of the United States and employed in Harris County, Texas. I am
               4       over the age of eighteen years and not a party to the within-entitled action. I am
               5       employed in the office of a member of the bar of this Court at whose direction the
               6       service was made. My business address is 700 Louisiana, Suite 3000, Houston,
               7       Texas 77002.
               8             On February 27, 2015 a copy of:
               9               NOTICE OF MOTION AND JOINT STIPULATION TO ENTER
             10             [PROPOSED] FINAL JUDGMENT AGAINST DEFENDANTS BATH
             11           KITCHEN DECOR, LLC D/B/A EAGLES LIGHTING LLC AND LARRY
             12             KRAYZMAN, AND DISMISSAL WITHOUT PREJUDICE OF DAVID
             13                                              TROPPER
             14        was served on the Defendants' attorney of record in this action by electronic filing as
             15        follows:
             16              YITZCHAK ZELMAN (Admitted Pro Hac Vice)
                             New York Bar No. (YZ5857)
             17              yzelman@sassonlaw.com
                             1669 East 12th Street, 2nd Floor
             18              Brooklyn, New York 11229
             19
             20              Following ordinary business practices, the envelope was sealed and placed for
             21        collection and mailing on this date, and would, in the ordinary course of business, be
             22        deposited with the United States Postal Service on this date.
             23              I declare that I am employed in the office of a member of the bar of this Court
             24        at whose direction the service was made.
             25              I declare under penalty of perjury that the following is true and correct and that
             26        this Declaration is executed on February 27, 2015 at Houston, Texas.
             27
             28                                               /s/Myall S. Hawkins
                                                              Myall S. Hawkins
                                                                  3
Baker & McKenzie LLP
                                                                                              Case No 5:13-cv-02370-RGK-MRW
 Houston, TX 77002                                                           Joint Stipulation to Enter [Proposed] Final Judgment
